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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF LOUISIANA

In Re:        Oil Spill by the Oil Rig         ]                   MDL No. 2179
              “Deepwater Horizon” in the       ]
              Gulf of Mexico, on April 20, 2010]                   SECTION: J
                                               ]
                                               ]                   Judge Barbier
This Document Relates to: 2:12-cv-1045-CJB-JCW ]                   Mag. Judge Wilkinson
                                               ]

                       SWORN DECLARATION OF BRUCE RIDPATH

         Pursuant to 28 U. S. C. § 1746 Bruce Ridpath declares the following:

         1.      “My name is Bruce Ridpath. The facts contained in this declaration are within

my personal knowledge and are true and correct.

         2.      I worked for O’Brien’s Response Management, Inc. (O’Brien’s) from May 6,

2010 to early January 2011. O’Brien’s assigned me to work in Venice, Louisiana at the staging

yard. My duties were to assist O’Brien’s in tracking equipment and supplies used in the cleanup

response to BP’s Deepwater Horizon oil spill in April 2010.

         3.      O’Brien’s treated me as an independent contractor from the beginning of my

employment until January 1, 2011, when O’Brien’s reclassified me as an employee.

         4.      Many other workers worked for O’Brien’s performing the same duties I

performed and were also treated as independent contractors. I refer to these other workers as

“Spill Workers.”

         5.      Throughout my employment with O’Brien’s, O’Brien’s established my and the

other Spill Workers’ compensation, set our schedules, and directed our work on a daily basis.

                                             Hours Worked

         6.      During my employment, the other Spill Workers and I typically worked seven

days per week. I went months without a day off.



                                                  -1-
                                                                                         Ex. 23
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       7.       The other Spill Workers and I were regularly scheduled to work twelve hour

shifts for O’Brien’s. However, our actual shifts were often longer than the regularly scheduled

twelve hours.

       8.       Accordingly, the other Spill Workers and I routinely worked many hours in

excess of forty in a week. Exhibit 1 is an For example of one of my time sheets from August 1

to August 7, 2010. I worked over 93 hours during this period. See Exhibit 1.

                                               Pay

       9.       When O’Brien’s hired me and the other Spill Workers, we signed “Teaming

Agreements” that state we would be paid by the day. The agreement I signed when I was hired

states I would be paid “$350 per day.” See Exhibit 2. I signed a new agreement with O’Brien’s

that states I would be paid $500 per day in July 2010. See Exhibit 3.

       10.      Throughout my employment with O’Brien’s, I was paid by the day. Initially, I

was paid $350 per day. From July 14, 2010 on, I was paid $500 per day. My pay did not

increase if I worked more than my scheduled hours.

       11.      O’Brien’s did not pay me or the other Spill Workers overtime compensation for

hours we worked in excess of forty hours during the time O’Brien’s classified us as independent

contractors.

                                             Control

       12.      O’Brien’s had the authority to hire and fire me and other Spill Workers. I know

this because Keith Towler, an O’Brien’s employee, hired me over the phone. He told me to

report to Venice for work the next day. When I arrived, O’Brien’s provided me with hiring

documents and employment policies.




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        13.     I was supervised initially by Mark McIntire with O’Brien’s. After about two

weeks, my new supervisor, John Sawicki, trained and instructed me regarding what information I

was to track in the staging yard for O’Brien’s.

        14.     O’Brien’s supervised and controlled the performance of our work in all the

locations to which I was assigned. For example, I had mandatory daily meetings with Sawicki. I

usually met with Sawicki twice daily, shortly after arriving to work each night and shortly before

leaving each morning. In these meetings, Sawicki gave me and other Spill Workers instructions

regarding our daily tasks and job performance. When there were problems in staging, I went to

Sawicki for help.

        15.     Sawicki required me to deliver my inventory report and boom count every

morning by 6 a.m. O’Brien’s used these reports to monitor our work and plan our assignments

for the next day.

        16.     O’Brien’s directed the information I was to track and how I was to report it.

O’Brien’s also provided instruction on how to fill out the report forms I completed. When my

forms were not filled out properly, or there was some other problem with my work, Sawicki

required me to make corrections according to his instructions.

        17.     O’Brien’s required me and the other Spill Workers to scan our electronic badges

in and out upon each entry and departure from work sites and boats. These badges said

“O’Brien’s” on them. We were required to wear them around our necks so they would always be

visible to the guards at the facilities.

        18.     O’Brien’s required me and the other Spill Workers to obtain approval for time off.

I requested a total of about twenty days off during my employment with O’Brien’s. I made these

requests to Sawicki, who approved them.




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        19.     O’Brien’s required me and other Spill Workers to fill out time sheets reflecting

hours worked.

        20.     O’Brien’s required me and the other Spill Workers follow policies and procedures

that dictated who we reported to in the chain of command, how we recorded and reported our

time worked, how we behaved on job sites, what we were permitted to wear, how we performed

our work, what expenses we were allowed to claim for reimbursement, how we handled

documents, and that we submit to random drug and alcohol testing.

        21.     O’Brien’s set my and other Spill Workers’ working schedules on a weekly basis,

which typically required minimum shifts of 12 hours or longer. We were not allowed to set our

own schedules.

        22.     The Spill Workers and I were not allowed to hire employees to help us with our

work.

        23.     O’Brien’s prohibited me and the other Spill Workers from working with any other

oil spill contractor while we were employed by O’Brien’s and for one year after our

employment. See Exhibits 2, 3.

        24.     Around January 1, 2011, I learned from Sawicki that O’Brien’s was going to

reclassify us as employees. From that point on, O’Brien’s classified me as an employee.

        25.     Just before I was let go, or “demobilized,” Sawicki told me that I was to report to

demobilization. In demobilization, my O’Brien’s electronic access badge was deactivated. After

being demobilized, I returned home because I no longer had work or lodging in Venice.

                                            Investment

        26.     The other Spill Workers and I made little or no investment in working for

O’Brien’s. For example, O’Brien’s provided us with the equipment we used, including printers,




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                                                                               BP
                                                                           RESPONSE
                                                                           TIME SHEET
Name: Bruce Ridpath                                      Billing Period:       8/1/10 – 8/07/10

Paykey Code: ZKRAUMD252                                  Response: Deepwater

  Date        Start      End        Total                       Location/Activity
              Time       Time       Hours


  8/01        0000    0530          5.5     Venice staging, Operations, Yard supervisor
  8/01        1630    2400          7.5     Venice staging, Operations, Yard supervisor
  8/02        0000    0530          5.5     Venice staging, Operations, Yard supervisor
  8/02        1630    2400          7.5     Venice staging, Operations, Yard supervisor
  8/03        0000    0630          6.5     Venice staging, Operations, Yard supervisor
  8/03        1630    2400          7.5     Venice staging, Operations, Yard supervisor
  8/04        0000    0600          6       Venice staging, Operations, Yard supervisor
  8/04        1630    2400          7.5     Venice staging, Operations, Yard supervisor
  8/05        0000    0530          5.5     Venice staging, Operations, Yard supervisor
  8/05        1630    2400          7.5     Venice staging, Operations, Yard supervisor
  8/06        0000    0600          6       Venice staging, Operations, Yard supervisor
  8/06        1645    2400          7.25    Venice staging, Operations, Yard supervisor
  8/07        0000    0600          6       Venice staging, Operations, Yard supervisor
  8/07        1630    2400          7.5     Venice staging, Operations, Yard supervisor


                      Total Hours   93.25




 Signature:                                                            Date:
                                                                                            Exhibit 1
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                                 RESPONSE MANAGEMENT
                                   TEAMING AGREEMENT

This Agreement is between O'Brien's Response Management Inc. (O'Brien'sRM) (referred to
collectively as Company), and BflIge Ridpath                       (referred to as Contractor). In
consideration of the mutual benefits derived herefronr, the parties, intending to be legally boun4 covenant
and agree as follows.

Company is principally engaged in the business of providing emergency preparedness and response
management services to its clients. Company wishes to utilize Contractor to assist Company in providing
these services, and Contractor agrees to support the Company, under the terms and conditions herein
provided. Such services include, but are not limited to, staffing of Incident Command System positions at
selected emergency events, conducting training courses, participating in and/or facilitating exercises and
other similar consulting services as mutually agreed to by both parties. Contractor understands that
Company is not obligated to request Contractor's services and Company understands that Contractor may
refuse Company"s request for services, if Contractor is not available.

Remuneration for services rendered as part of this Agreement will be at a rate of $_@_ per hour/day
for consulting plus reasonable out-of-pocket expenses, and/or $_JgA.00 _ per day, effective 14 July
2010, for responses plus reasonable out ofpocket expenses. Rates may be changed annually upon 30
days written notice. Contractor will invoice Company within 10 days of project completion and will
include receipts for all expenses. Company will provide all billing to the client and distribute to
Contractor upon receipt of fees and expenses from the clienl Company will provide general liability
insurance as required by the client and Contractor will provide workers compensation insurance for its
employees. Contractor will be responsible for all wages, salaries and benefits of its employees.

Contractor agrces that any proprietary and confidential information that results from all work covered by
this agreement will be held in sfiict confidence for at least five years beyond the termination of this
Agreement and may not be used for any purpose other than fulfillment of Contractor's responsibilities.
Contractor also agrees not to solicit or sell services substantially similar to that provided by Company to
Company's clients for the term of this agreement and for a period of one year thereafter.

This Agreement is a continuing (evergreen) commitment with no set termination. It does not bind either
party to a joint venture, parhrership, or any other type of formal business entity. It also does not make
either party an employee of the other. For the sake of good order, Contractor will keep Company
apprised of information needed for maintaining Contractor's Statement of Qualifications. Either party
may terminate this Agreement wittr at least 60 days prior written notice to the other party.



COMPANY:                                                  CONTRACTOR:

By:

Name:

Title:                                                    Title:

Company: O'Brien's Response Management Inc.               Company:

Date:                                                     D*", 7 f /4 ltD


Teaming Agreement                                                                                March 2009
                                                                                                  Exhibit 2
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                                 RESPONSE MANAGEMENT
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for all expenses. Company will provide all billing to the client and distribute to Contractor upon receipt
of fees and expenses from the client. Company will provide general liability insurance as required by the
client and Contractor will provide workers compensation insurance for its employees. Contractor will be
responsible for all wages, salaries and benefits of its employees.

Contractor agrees that any proprietary and confidential information that results from all work covered by
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Agreement and may not be used for any purpose other than fulfillment of Contractor's responsibilities.
Contractor also agrees not to solicit or sell services substantially similar to that provided by Company to
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either party an employee of the other. For the sake of good order, Contractor will keep Company
apprised of information needed for maintaining Contractor's Statement of Qualifications. Either party
may terurnnate this Agreement with at least 60 days prior written notice to the other party.



COMPANY:

By:

Name:                                                     Name:

Title:                                                    Title:

Company: O'Brien's Response Management lnc.               Company:

Date:




Teaming Agreement                                                                                March 2009


                                                                                                    Exhibit 3
